                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF LOUISIANA
                                   OFFICE OF THE CLERK

                                              September 26, 2019



Susan Racca, Clerk of Court
38th Judicial District Court
Cameron Parish
P O Box 549
Cameron, LA 70631




   In re: Civil Action No. 2:18−cv−00685−RRS−KK
          CAMERON ET AL V. BAY COQUILLE INC ET AL
          Your Case No. 10−19581

Dear Clerk:

    Please be advised that the above captioned matter has been remanded to your Court. We enclose herewith
a certified copy of our docket sheet and the Judgment or Order to Remand.

    The official court record for the Western District of Louisiana is the electronic case filing system,
CM/ECF. Our website is: http://ecf.lawd.uscourts.gov; counsel may access this database to obtain any
pleadings you require.

   Please acknowledge receipt on the enclosed copy of this letter.

  ATTORNEYS ARE ADVISED THAT ALL FUTURE FILINGS SHOULD BE DIRECTED TO THE
RECEIVING COURT NAMED ABOVE.

   For questions regarding this document or transmission, please call our CM/ECF help desk at
1−866−323−1101.

   THUS DONE September 26, 2019.



                                                            TONY R. MOORE
                                                            CLERK OF COURT

                                                            T Dunford
                                                            DEPUTY CLERK OF COURT
